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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

WILMINGTON DIVISION
IN RE: CASE NUMBER: 19-02267-5-SWH
RANDALL ROBERTS
JANICE ROBERTS
121 RIVERVIEW DR
LELAND, NC 28451
DEBTORS CHAPTER 13

 

CERTIFICATE OF SERVICE

The undersigned hereby certifies under penalty of perjury that he/she is over
eighteen (18) years of age and that the Chapter 13 Plan in the above captioned case was
this day served upon the below named persons by mailing, postage prepaid, first class
mail a copy of such instrument to each person(s), parties, and/or counsel at the addresses
shown below:

RANDALL ROBERTS
JANICE ROBERTS
121 RIVERVIEW DR
LELAND, NC 28451

Aspen Contracting

Attn: Managing Officer/Agent
8651 Stephens Church Rd #J-308
Wilmington, NC 28411

Joseph Bledsoe, III
Chapter 13 Trustee
Served via CM/ECF

[| ] and on the parties in interest at the addresses shown on the attached matrix (if box
checked)
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This the 23 day of May 2019

The Law Offices of Chris Vonderau, PLLC
/s/ Chris Vonderau

Chris T. Vonderau

NC State Bar No. 25019

4022 Shipyard Blvd.

Phone 910-202-3110

Wilmington, NC 28403

Attorney for Debtors
